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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

SAINT-GOBAIN PERFORMANCE
PLASTICS EUROPE,

                       Plaintiff,                  Civil Action No. 1:18-cv-01963-LPS

             v.
                                                   STIPULATION
BOLIVARIAN REPUBLIC OF
VENEZUELA; PETRÓLEOS DE
VENEZUELA, S.A.,

                       Defendants.

       IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned

counsel for Plaintiff Saint-Gobain Performance Plastics Europe, Defendant Bolivarian Republic

of Venezuela, and Defendant Petróleos de Venezuela, S.A., that the time for Defendants to

oppose or otherwise respond to Plaintiff’s motion for a default judgment (ECF No. 11), shall be

extended from July 8, 2019 to August 7, 2019.

       IT IS FURTHER STIPIULATED AND AGREED that this Stipulation may be executed

electronically and in counterparts.

Date: July 8, 2019                               Date: July 8, 2019

HOGAN LOVELLS US LLP                             ARNOLD & PORTER


By: /s/ Scott R. Haiber                d         By: /s/ Kent A. Yalowitz                  f f
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Petróleos de Venezuela, S.A.                     Bolivarian Republic of Venezuela
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Date: July 8, 2019

PACHULSKI STANG ZIEHL & JONES LLP


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Counsel for Plaintiff
Saint-Gobain Performance Plastics Europe




                                       SO ORDERED this ____ day of ____________, 2019


                                                      _____________________________
                                                         Judge Leonard P. Stark, U.S.D.J.
